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                                        18U.S.C.j371                                  ./GOODMAN
                                        18U.S.C.j1542
                                        18U.S.C.j982(a)(6)
 UNITED STATESOF AM ERICA                                                                  JUN l:
                                                                                                !2017

 VS.


 EVG EN Y K O V TUN EN K O ,
   a/k/a ççEvgeny Sokolov,''

         D efendant.
                                   /

                                         IN DIC TM EN T

        The Grand Jury charges that:

                                          COUNT 1
                 C onspiracy to C om m itan O ffense A gainstthe U nited States
                                         (18U.S.C.j371)
        Beginning atleastas early as on or aboutM arch 17,2013,the exactdate being unknow n

 to the G rand Jury,and continuing through on or about A ugust 26, 2015,in M iam i-D ade and

 Broward Counties,in the Southern D istrictofFlorida,and elsew here,the defendant,

                                  EV G EN Y K O V TU NEN K O ,
                                     a/k/a REvgeny Sokolov,''

 did know ingly and willfully com bine,conspire,confederate,and agree w ith otherpersons known

 and unknow n to the G rand Jury to com m itan offense againstthe United States,thatis,to w illfully

 and knowingly m ake a false statem entin an application fora passportw ith the intcntto induceand

 secure the issuance of a passportunderthe authority ofthe U nited States fol'the use of another,
Case 1:17-cr-20404-MGC Document 3 Entered on FLSD Docket 06/14/2017 Page 2 of 6



 contrary to the law s regulating the issuance ofpassportsand the rules prescribed pursuantto such

 laws,in violation ofTitle 18,U nited States Code,Section 1542.

                    A CT S IN FUR TH ER ANC E O F TH E CO NSPIM CY

        lnfurtheranceoftheconspiracy,andtoachievetheobjedsandpurposethereof,atleast
 one ofthe co-conspiratorscom m itted and caused to be com m itted,in the SouthenzDistrictof

 Florida,and elsewhere,atleastone ofthe follow ing acts,am ong others:

               On or about N ovem ber l4, 2014, in a passport application for a m inor child,

 EV G ENY K O V TU NE NK O falsely and gaudulently represented that he had personally

 w itnessed the non-applying parent sign the 175-3053 Statem ent of Consent w hen he had not

 personally w itnessed the non-applying parentsign the 175-3053 Statem entofConsent.

               On or about D ecem ber l5, 2014, in a passport application for a m inor child,

 EV G ENY K O V TUN EN K O falsely and fraudulently represented that he had personally

 w itnessed the non-applying parent sign the 175-3053 Statem ent of Consent w hen he had not

 personally w itnessed the non-applying parentsign the 175-3053 Statem entofConsent.

               O n oraboutAugust20,2015,in apassportapplication foram inorchild,EV G EN Y

 K O V TUN ENK O falsely and fraudulently represented thathe had personally witnessed the non-

 applying parentsign the 175-3053 Statem entofConsentwhen he had notpersonally w itnessed the

 non-applying parentsign the 175-3053 Statem entofConsent.

        A 11in violation ofTitle 18,U nited States Code,Section 371.

                                        CO UN TS 2-7
                      M aking a False Statem entin PassportA pplication
                                       (18U.S.C.j 1542)
        On or about the dates enum erated as to each countbelow ,in M iam i-D ade and Brow ard

 Counties,in the Southel'
                        n D istlictofFlorida,and elsewhere,the defendant,
Case 1:17-cr-20404-MGC Document 3 Entered on FLSD Docket 06/14/2017 Page 3 of 6



                                   EV G EN Y K O V TU NEN K O ,
                                      a/k/a téEvgeny Sokolov,''

 did w illfully and know ingly m ake a false statem entin an application fora passportwith the intent

 to induce and secure the issuance ofa passportunderthe authority ofthe United Statesforthe use

 of another,contrary to the law s regulating the issuance of passports and the rules prescribed

 pursuantto such laws,in thathe represented thathe had personally witnessed a non-applying

 parentsign the 175-3053 Statem entofConsenton behalfofapassportapplicant,w hen in trttth and

 in fact,and ashethen and there wellknew ,he had notpersonally w itnessed a non-applying parent

 sign the 175-3053 Statem entofConsenton behalfof apassportapplicant.


          2                    N ovem ber 14,2014                             D .G .
          3                     D ecem ber5,2014                              M .M .
          4                    Decem ber 15,2014                              K .K .
          5                    Decem ber 15,2014                              P.K .
          6                      August20,2015                                 E.E.
          7                      A ugust26,2015                               Z.D .

        In violation ofTitle 18,U nited StatesCode,Sections 1542 and 2.

                                FORFEITURE ALLEGATIONS
               The allegations of this Indidm ent are re-alleged and by this reference fully

 incop orated herein forthe pup ose ofalleging crim inalforfeiture to the U nited StatesofAm erica

 ofcertain property in w hich the defendant,EV G EN Y K O V TU NEN K O ,hasan interest.

               Upon conviction of a violation of Title 18,U nited States Code,Section 1542,as

 alleged in Counts 2 through 7 of this lndictm ent,the defendant shallforfeitto the United States

 the follow ing:

               any conveyance,including any vessel,vehicle,or aircraftused in the com m ission

               ofsuch violation;and

        b)     anyproperty,realorpersonal,
Case 1:17-cr-20404-MGC Document 3 Entered on FLSD Docket 06/14/2017 Page 4 of 6



                      thatconstitutes,oris delived from or is traceable to the proceeds obtained

                      directly orindirectly from the com m ission ofsuch violation;or

               11.    that w as used to facilitate, or intended to be used to facilitate, the

                      com m ission ofsuch violation.

        Allpursuantto Title 18,United StatesCode,Sections982(a)(6),and theproceduresset
 forth atTitle 21,United States Code,Section 853,as m ade applicable by Title 18,United States

 Code,Section982(b)(l).
                                            A TRU E BILL



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                                                   EPERSON


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 BEN JA M W G .G REEN BERG
 A CT G UN ITED ST ES A TTORN EY




 JESSIC K A HN O BEN AU F
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                           UNITED STATES DISTRICT COURT
  Case 1:17-cr-20404-MGC Document 3 DI
                           SOUTHERN  Entered
                                      STRICT on
                                             OFFLSD  Docket 06/14/2017 Page 5 of 6
                                                FLORIDA

UNITED STATES OF AMERICA                      CASE NO.
VS.
                                              C ERTIFICATE O F TRIA L A TTO R NEY*
EVGENY KOVTUNENKO,
 alèla HEvgeny Sokolov,''
      Defendant.
                                     /        Superseding Case lnform ation:

CourtDivision:(SelectOne)                    New Defendantts)                    Yes         No
                                             NumberofNew Defendants
                                             Totalnum berofcounts
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   Mi
    Taumi              wKeIBWest      FTp
      Ido herebycedify that:
               Ihave carefully consi
                                   dered the allegations ofthe indictm eqt,the num berofdefendants,the number
               ofprobable wi
                           tnesses and the Iegalcom plexities ofthe Indl
                                                                       ctment/lnformation attached hereto.
               Iam aware thatth: informationsupplied oqthis?tqtemeqtwillbe relied upon bytheJudgesofthis
               Courtin setting thelrcal:ndars and schedullng crlmlnaltrlals underthe mandate ofthe Speedy Trial
             Act,Title 28 U.S.C.Sectl
                                    on 3161.
               Iqterpreter:    (YesqrNo)     Yes
               LlstIanguage and/ordlalect      usslan
      4.       Thiscase willtake     2-3     daysforthe padies to try.
      5.       Please check appropriate categoryand type ofoffense listed below:
               (Checkonl
                       yone)                                 (Checkonl
                                                                     yone)
      I        0 to 5 days                      x                     P?tty
      11       6 to 10 days                                           Mlnor
      III      11to 20 days                                           Mlsdem .
      IV       21to 60 days                                           Felony            x
      V        61days and over
      6.       Hasthiscase been previousl
                                        yfiled inthisDistrictCourt? (YesorNo)           No
      Ifyes:
      Judge:                                          Case No.
      (Attachcopy9fdispositivegrdeq)
      Hasacomplalntbeenfiled Inthlsmatter?            (YesorNo)       No
      Ifyej:
      Maglstrate Case No.
      Related M i
                sc:llaneous num bers:
      Defendantts)lnfederalcustodyasof
      Defendant(s)Instatecustodyasof
      Rule 20 from the                         Is rIc o
       Isthisapotentialdeath penaltycase? (YesorNo)          No

      7.       Dgesthiscase originatefrom amatterpending inthe Nodhern Regionofthe U.S.Attorney'sOffice
               prlorto October14,2003?                       Yes             x     No

      8.       Dges this case originate from a matterpending in the CentralRegion ofthe U.S.Attorney'
                                                                                                    s Office
               prlorto Septem ber1,2007?                     Yes              x    No



                                                      JE I A KAH N BENAUF
                                                      ASSISTANT UNITED STATES ATTORNEY
                                                      Florida BarNo.0052716

*penaltySheetts)attached                                                                            REV4/8/08
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                           U NITED STA TE S D ISTR ICT CO UR T
                           SO U TH ERN D ISTR ICT O F FL O RID A

                                      PENA LTY SH EET

 D efendant'sN am e:      EV GEN Y K OV TUN EN KO a/k/a 6tEvgeny Sokolov''

 C ase N o:

 Count:1

 Conspiracy to Com m itan O ffense A gainstthe United States

 Title 18,U nited StatesCode,Section 371

 *M ax.Penalty:5 Y ears'Im prisonm ent

 Counts:2-7

 False Statem entin PassportA pplication

 Title 18,United States Code,Section 1542

 *M ax.Penalty:15 Years'lm prisonm ent

 WR efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
 specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
